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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

 

TOBIAS BERMUDEZ CHAVEZ, et al, ) Civil Action No. 1:12-cv-00697-RGA
)
Plaintiffs, ) Jury Trial Demanded
)
Vv. )
)
DOLE FOOD COMPANY, INC., ef al. )
)
Defendants. )
JULIO ABREGO ABREGO, ef ai, ) Civil Action No. 1:12-cv-00698-RGA
. )
Plaintiffs, 5 Jury Trial Demanded
)
Vv. )
)
DOLE FOOD COMPANY, INC., ef al, )
)
Defendants. )
ALVARADO ALFARO MIGUEL ) Civil Action No, 1:12-cv-00699-RGA
FRANCISCO, ef al., )
) Jury Trial Demanded
Plaintiffs, )
)
v. )
)
DOLE FOOD COMPANY, INC., ef ai. )
)
Defendants. )

 

JORGE LUIS AGUILAR MORA, et al., Crvil Action No. 1:12-cv-00700-RGA

Plaintiffs, Jury Trial Demanded

V.

DOLE FOOD COMPANY, INC., ef al,

Neem eet Smee eee” nee Sige” ere” nage”

Defendants.

 
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EDWIN AGUERO JIMENEZ, et al., ) Civil Action No. 1:12-cv-00701-RGA
)
Plaintiffs, ) Jury Trial Demanded
)
v. )
)
DOLE FOOD COMPANY, INC., ef al, )
)
Defendants. )
GONZALEZ ARAYA FRANKLIN, ef ai, ) Civil Action No. 1:12-cv-00702-RGA
)
Plaintiffs, ) Jury Trial Demanded
)
v. )
)
DOLE FOOD COMPANY, INC., ef al, )
)
Defendants. )

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
DOLE FOOD COMPANY, INC., DOLE FRESH FRUIT COMPANY, STANDARD
FRUIT COMPANY, AND STANDARD FRUIT AND STEAMSHIP
COMPANY’S MOTION TO DISMISS UNDER THE FIRST FILED RULE

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Company

Date: June 21, 2012

[1064322 / 39209]
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Dole Food Company Inc., Dole Fresh Fruit Company, Standard Fruit Company, and
Standard Fruit and Steamship Company (collectively “Dole”) respectfully moves this Court to
dismiss this action pursuant to the “first-filed” rule.

I. INTRODUCTION

The complaints in these six cases are identical to the six complaints that the same plain-
tiffs filed in federal court in Louisiana over a year ago. The allegations were copied verbatim,
and the parties are unchanged. The cases have no substantive connection to Delaware. The
complaints’ only purpose, their author admits, are to act as a purported placeholder in case the
same defendants’ pending motion for summary judgment in the Eastern District of Louisiana is
granted. If that motion is denied, “the Plaintiffs,” says their lawyer, “would elect to proceed in
Louisiana.” Well-established federal law, however, prohibits such forum shopping and duplica-
tive case filings. Consequently, the six cases should be dismissed.

The Third Circuit has long held that, under the “‘first-filed” rule, “in all cases of federal
concurrent jurisdiction, the court which first has possession of the subject must decide it.”
EEOC. vy. Univ. of Penn., 850 F.2d 969, 971 Gd Cir. 1988). The rule “encourages sound judi-
cial administration and promotes comity among federal courts of equal rank” by preventing the
“subsequent prosecution of proceedings involving the same parties and the same issues already
before another district court.” /d at 971. Where a party attempts to initiate duplicative litiga-
tion, application of the first-filed rule “will usually be the norm, not the exception.” Jd, at 979.

The Delaware Federal Actions consist of six substantively identical actions and com-

 

, Letter from Scott Hendler to Hon. Carl Barbier (U.S. District Judge, E.D. La.),
dated June 4, 2012, attached as Exhibit A to the Certification of Somers S. Price, Jr.
(“Price Cert.”). .
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plaints filed by Plaintiffs on June 1, 2012.7 The Louisiana Federal Actions consist of six substan-
tively identical actions and complaints filed by Plaintiffs in the United States District Court for
the Eastern District of Louisiana on June 1-2, 2011.* Here, there can be no dispute that (1) the
Louisiana Federal Actions and the Delaware Federal Actions are pending in two different courts
of federal concurrent jurisdiction, (2) both sets of actions involve the same parties, and (3) both
sets of actions raise the same issues. This is exactly the sort of economic waste and needless ex-
penditure of judicial time and resources that the first-filed rule was designed to preclude. See
Funkhouser v. Chi-Chi’s, Inc., No. 2:05CV638, 2005 WL 2545300, *1 (W.D. Pa. Oct. 7, 2005)."
Dismissal pursuant to the first-filed rule is especially appropriate here, because it repre-
sents the continuation of a pattern of abusive multiplicative litigation that courts should not con-
done, and that should be brought to an end. In the last two decades, there have been no fewer
than 30 actions filed in Florida, Hawaii, Louisiana, and now Delaware, in the names of various
permutations of portions of the same group of 3,000 plaintiffs, represented by the same plain-
tiffs’ attorney, against the same defendants, involving the same issues. The filing of the Dela-
ware Federal Actions is thus antithetical to this Circuit’s public policy against forum shopping.

Edelson v. Soricelli, 610 F.2d 131, 141 (3d Cir. 1979) (emphasizing policy of “preventing forum

 

i For ease of reference, this memorandum will refer to all six actions collectively as

the “Delaware Federal Actions.” See infra § ILB.2. Unless specifically stated otherwise,
citations to the Delaware Federal Actions Complaint (“Del. Compl.”) will refer to the
Complaint in Gonzalez Araya Franklin et al. v. Dole Food Company, Inc., et al., No.
1:12-cv-00702-RGA (D. Del. June 1, 2012).

; See infra § JI.B.1 1.5 and accompanying text, For ease of reference, this memo-
randum will refer to all six actions collectively as the “Louisiana Federal Actions.” Un-
less specifically stated otherwise, citations to the Louisiana Federal Actions Complaint
(“La. Compl.”) will refer to the Fourth Amended Complaint in Araya Franklin et al. v.
Dele Food Company, Inc., et al., No. 2:11-cv-01311-CJB-KWR (E.D. La. March 12,
2012).
, Copies of all unreported decisions cited herein are included in the compendium of
cases filed contemporanecously herewith.
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shopping”). While a plaintiff generally can file in his or her forum of choice, these Plaintiffs
cannot maintain duplicative litigation here as a hedge against an unfavorable outcome in Louisi-
ana—a forum that Plaintiffs voluntarily chose to litigate their claims. “To condone such obvious
instances of ‘forum shopping’ would only serve to... defeat any hope for judicial economy and
the orderly resolution of cases.” McDermoit v. Toyota Motor Sales Co., 487 F. Supp. 484, 486
(E.D. Tenn. 1980).

Plaintiffs picked their forum when they first-filed their claims in Louisiana. They have
amended those complaints four times, and should be held to that choice. This Court should,
therefore, exercise its power to dismiss the Delaware Federal Actions under the first-filed rule.

i. STATEMENT OF FACTS

 

A. Overview of DBCP Litigation

Plaintiffs are foreign nationals from Central and South America who allege they were ex-
posed to the agricultural chemical DBCP while working on banana farms in their respective
countries of origin beginning as far back as the 1960s. Virtually all of the Plaintiffs’ alleged ex-
posures ended no later than the very early 1980s. There is no dispute that DBCP has not been
manufactured or used in any country for decades. While DBCP was linked in the early 1980s to
sterility in male factory workers who were exposed to high, manufacturing-level doses, the agri-
cultural application of DBCP has never been shown to cause sterility. And even in cases where
exposure to DBCP could adversely impact an individual’s sperm production, i.e., at manufactur-
ing-level doses, this injury would be sustained at the time of exposure. Osorio v. Dole Food Co.,
665 F. Supp. 2d 1307, 1331 (S.D. Fla. 2009). No less than 25 years have passed between Plain-
tiffs’ last alleged exposure to DBCP and the filing of their actions before this Court.

Plaintiffs are not the first to file DBCP claims in the United States. Thousands of other

foreign nationals claiming to have been exposed to DBCP while working on banana farms have
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brought lawsuits, as far back as the 1980s, based on the same theories asserted by Plaintiffs.
And, despite the lack of substantive scientific data indicating a causal relationship between the
agricultural application of DBCP and decreased sperm production, there continues to be exten-
sive DBCP litigation. To date, there has only been one verdict in favor of agricultural worker
plaintiffs, and that judgment was vacated after it was found that it was obtained by fraud. Tedlez
v. Dole Food Coe., Case No. BC312852, Cal. Super. Ct., Cnty. of L.A., Statement of Decision
{1 4, 6 (March 11, 2011) (vacating judgment because it was the “product of a fraud on the court
and extrinsic fraud perpetrated” against Dole that “deprived defendants of their due process
rights” and “impugned the integrity of the court”). A number of other courts have also found the
DBCP litigation brought on behalf of foreign nationals to be marred by fraud and a jack of due
process for the defendants. Osorio, 665 F. Supp. 2d at 1351, aff'd, 635 F.3d 1277, 1279 (11th
Cir. 2011) (denying enforcement and recognition of a $97 million Nicaraguan judgment where
the judgment “did not arise out of proceedings that comported with the international concept of
due process”); Mejia v. Dole Food Co. & Rivera v. Dale Food Co., Case Nos. BC340049,
BC379820, Cal. Super. Ct., Cnty. of L-A., Terminating Sanctions Order JJ 137, 140 (June 17,
2009) (issuing terminating sanctions against Nicaraguan plaintiffs because of an “egregious”

fraud and “witness intimidation” that “threatened the integrity of the judicial process”).

B. Procedural History

1. June 2011; The Louisiana Federal Actions

On June 1-2, 2011, six actions were filed in the United States District Court for the East-
em District of Louisiana on behalf of 230 plaintiffs who claim to have been injured while work-

ing on banana farms in Costa Rica, Ecuador, or Panama from alleged exposure to the agricultural
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chemical DBCP.” Plaintiffs assert six causes of action for Negligence, Strict Liability, Breach of
Implied Warranty, Conspiracy, Participation and Assistance, and Medical Monitoring. Plaintiffs
filed these actions against fruit grower defendants Dole, De] Monte Fresh Produce, N.A., Inc.,
and Chiquita Brands International, Inc., Chiquita Brands, Inc., and Maritrop Trading Corpora-
tion, and chemical manufacturer defendants The Dow Chemical Company, Shell Oil Company,
Occidental Chemical Corporation, and AMVAC Chemical Corporation (collectively, the “De-
fendants”).

Following the filing of the Louisiana Federal Actions, the plaintiffs filed multiple amend-
ed complaints, primarily in response to motions to dismiss. The operative Louisiana complaint is
now the Fourth Amended Complaint, filed on March 12, 2012. Prior to the first case manage-
ment conference, “[a]ll Parties agree[d] that the central issue to be addressed at the outset should

be prescription,” /.e., Louisiana’s statute of limitations. (Letter from Phillip A. Wittmann to

 

5 The Louisiana Federal Actions consist of the following cases filed on behalf of

230 plaintiffs: (1) Genzalez Araya Franklin v. Dole Food Company, Inc., No: 2:11-cv-
1311-CJB-K WR, filed on June 2, 2011 on behalf of 32 plaintiffs alleging work on banana
farms in Ecuador, Panama, or Costa Rica (“Franklin Louisiana”); (2) Edwin Aguero
Jimenez v. Dole Food Company, Inc., No: 2:11-cv-1320-CJB-K WR, filed on June 2,
2011, on behalf 56 plaintiffs alleging work on banana farms in Ecuador, Panama, or Cos-
ta Rica (“Jimenez Louisiana’); (3) Jorge Luis Aguilar Mora v. Dole Food Company, Inc.,
No:2:11-cv-1305-CJB-K WR, filed on June 1, 2011 on behalf 41 plaintiffs alleging work
on banana farms in Ecuador, Panama, or Costa Rica (“Mora Louisiana”); (4) Miguel
Francisco Alvarado Alfaro v. Dele Food Company, Inc., No: 2:11-cv-1303-CJB-K WR,
filed on June 1, 2011, on behalf of 34 plaintiffs alleging work on banana farms in Ecua-
dor, Panama, or Costa Rica (“Francisco Louisiana”); (5) Julio Abrego Abrego v. Dole
food Company, Inc., No: 2:11-cv-1301-CJB-KWR, filed on June 1, 2011, by 36 plain-
tiffs alleging work on banana farms in Panama (“Abrego Louisiana”); and (6) Tobias
Bermudez Chavez v. Dole Food Company, Inc., No: 2:11-cv-1300-CJB-KWR, filed on
June 1, 2011, on behalf of 31 plaintiffs alleging work on banana farms in Ecuador, Pana-
ma, or Costa Rica (“Chavez Louisiana’). A seventh action, which is not at issue here,
was also filed on May 31, 2011, entitled Eduardo Alvarado Chaverri v. Dole Food Com-
pany, No: 2:11-cv-1289-CJB-KWR, by 30 plaintiffs alleging work on banana farms in
Ecuador, Panama, or Costa Rica (“Chaverri Louisiana”). On May 2, 2012, all seven ac-
tions were consolidated under Chaverri Louisiana. (Civil Docket 141, Price Cert. Exh.
C.)
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Hon. Ivan L.R. Lemelle, Judge, E.D. La., (February 27, 2012), Price Cert. Exh. B.} Following a
hearing, the Louisiana District Court agreed that statute of limitations was a threshold inquiry,
and, on March 5, 2012, ordered a briefing schedule on a motion for summary judgment.

Dole’s motion for summary judgment, joined by all Defendants, was filed on April 6,
2012. (Memorandum In Support of Dole’s Motion for Summary Judgment, Price Cert. Exh. F.)
In its motion, Dole argues that plaintiffs’ claims are time-barred on the face of the complaint
pursuant to Louisiana’s one-year statute of limitations. (/d at 11.) Plaintiffs argued that the
statute of limitations was tolled from 1993, when a putative class action was filed by others in
Texas, until 2010, when the two intervenors represented by Mr. Hendler voluntarily dismissed
their petition to intervene in the class action (which already had been abandoned in 2006 by the
original class representatives) after the denial of a motion for class certification. Dole disputes
plaintiffs’ 17-year tolling theory on separate and independent grounds, including: (1) the first
class certification motion in the Texas action was denied in 1995 when the Texas case was dis-
missed, and post-1995 appellate proceedings do not extend class action tolling under American
Pipe & Construction Co, vy. Utah, 414 U.S. 538, 554 (1974) (“American Pipe”) (id. at 13-15); (2)
the Texas putative class was a loosely defined mass tort class whose definition was so vague that
it could not serve as the basis for class action tolling (id. at 15-18); (3) even if class action tolling
would otherwise apply, it does not apply cross-jurisdictionally (@. at 18-23); and (4) over 200 of
the plaintiffs in Louisiana had opted out of the class because they were among the plaintiffs who
filed an action in Florida, California, and/or Hawaii prior to the ruling on class certification,
thereby abandoning prematurely the guid pro quo arrangement to promote judicial efficiency that

American Pipe was adopted to encourage (id. at 23-24),
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On May 1, 2012, just eight days before their response to the summary judgment motion
was due, the Louisiana plaintiffs filed a motion to stay the briefing based on the Louisiana Su-
preme Court’s grant of review in Helen Duckworth v. Louisiana Farm Bureau Mutual Insurance
Company c/w Tony Smith v. Louisiana Farm Bureau Mutual Insurance Company, No. 2011-C-
2385 (March 30, 2012). (Docket Entry 136, Price Cert. Exh. C.) At most, Duckworth may ad-
dress whether a putative class member, who files a separate action before a decision on class cer-
tification, has opted out of the class, thereby depriving him of the benefits of class action tolling
under American Pipe. At plaintiffs’ request, the Court issued a stipulated order staying summary
judgment briefing on the narrow issue presented in Duckworth but otherwise allowing the mo-
tion to proceed. (Order, Chaverri Louisiana, Price Cert. Exh. G.) On June 11, 2012, plaintiffs
filed their opposition brief, and Defendants’ reply is due on July 11. The hearing on the motion
is set for August 1, 2012.

2. June 2012; The Newly-Filed Delaware Federal Actions

On June 1, 2012, Plaintiffs’ counsel filed the following six actions in the United States
District Court for the District of Delaware on behalf of 230 plaintiffs: (1) Gonzalez Araya
Franklin, et al. vy. Dole Food Company, Inc., et al., No. 1:12-cv-00702-RGA (D. Del. June 1,
2012) (‘Franklin Delaware”) filed on behalf of the same 32 named plaintiffs in Franklin Louisi-
ana; (2) Edwin Aguero Jimenez, et al. vy. Dole Food Company, Inc., et al., No. 1:12-cv-00701-
RGA (D. Del. June 1, 2012) (“Jimenez Delaware”) filed on behalf of the same 56 named plain-
tiffs in Jimenez Louisiana; (3) Jorge Luis Aguilar Mora, et al. v. Dole Food Company, Inc., et
al., No. 1:12-cy-00700-RGA (D. Del. June 1, 2012) (“Mora Delaware”) filed on behalf of the
same 41 plaintiffs in Mora Louisiana; (4) Alvarado Alfaro Miguel Francisco, et al. vy. Dole Food

Company, Inc., et al., No. 1:12-cv-00699-RGA (D. Del. June 1, 2012) (“Francisco Delaware”)
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filed on behalf of the same 34 named plaintiffs in Francisco Louisiana; (5) Julio Abrego Abrego,
et al. v. Dole Food Company, Inc., et al., No. 1:12-cv-00698-RGA (D. Del. June 1, 2012)
(“Abrego Delaware”) filed on behalf of the same 36 named plaintiffs in Abrego Louisiana; and
(6) Tobias Bermudez Chavez, et al. v. Dole Food Company, Inc., et al., No. 1:12-cv-00697 (D.
Del. June 1, 2012) (“Chavez Delaware”) filed on behalf of the same 31 named plaintiffs in
Chavez Louisiana.® (See Plaintiff Listing Chart, Price Cert. Exh. H.)

The Delaware Federal Actions are the same as the Louisiana Federal Actions. (See Red-
line Comparison of Complaints, Price Cert. Exh. D.) Plaintiffs do not dispute that these actions
are identical. Three days after filing the Delaware Federal Actions, on June 4, 2012, Plaintiffs’
Louisiana counsel Mr. Hendler sent a letter to the Honorable Carl Barbier, the United States Dis-
trict Judge to which the Louisiana Federal Actions are assigned, recognizing the bar against pur-
suing “duplicate cases in different federal judicial districts,” but requesting the court’s “indul-
gence over the next several months.” (Price Cert. Exh. A.) Mr. Hendler explained that in anoth-
er DBCP case pending in Delaware state court since July 21, 2011 (Jose Rufino Canales Blanco

v. AMVAC Chemical Corp., et al., No. N11C-07-149) filed on behalf of one Costa Rican plain-

 

§ At the same time the complaints in the Delaware Federal Actions were filed on

behalf of 230 plaintiffs, Plaintiffs’ counsel filed two actions in this Court (Gonzalo Ro-
drigo Abad-Castille et al. y. Dole Food Company, Inc., et al., No. 12-cv-00696-RGA (D.
Del. June 1, 2012) and Luis Antonio Aguilar Marquinez, et al. vy. Dole Food Company,
Inc., et al., No. 12-cv-00695-RGA (D. Del. May 31, 2012)) on behalf of a combined
2,700 plaintiffs who purport to be banana workers from Panama, Costa Rica, Ecuador
and Guatemala alleging damages based on DBCP exposure. The same actions are not
pending in the Louisiana District Court, thus Dole is not seeking dismissal of those two
actions at this time. On June 1, 2012, Plaintiffs’ counsel also filed an action in Delaware
state court, Eudardo Alvarado Chaverri, et al. v. Dole Food Company, Inc., et al., No.
N12C-06-017 JOH (Del.Super.), on behalf of 30 plaintiffs from Ecuador, Panama and
Costa Rica, who have pending claims in the Louisiana District Court. Because the Dela-
ware state court action is identical to an action pending in Louisiana District Court, Dole
is likewise seeking a dismissal of the Delaware state court action under the first-filed
rule.
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tiff, the defendants filed a motion for judgment on the pleadings that raises the same issues on
statute of limitations under Delaware law as the motion for summary judgment on prescription
currently pending before the court based on Louisiana law, and that, on May 31, 2012, the Dela-
ware state court issued a letter notifying the parties of the court’s intention to deny the motion
that the plaintiff's case was barred by limitations. (/d.; Letter from Hon. Jerome O. Herlihy,
Judge, Superior Court of the State of Delaware, to counsel for all parties (May 31, 2012), Price
Cert. Exh. E.). Mr. Hendler further explained that, “Plaintiffs ... believed it was imperative to
take steps to protect and preserve their claims that are subject to Dole’s summary judgment on
Prescription in Louisiana by also filing their cases in Delaware.” (Price Cert. Exh. A.) Mr.
Hendler makes clear his strategy of filing the Delaware Federal Actions to backstop a potential
oss in Louisiana District Court:

[T]he Louisiana Supreme Court is expected to conclusively determine the [opt-

out] issue later this year and before the Delaware Supreme Court is likely to have

the opportunity to squarely address the matter. If the La. Supreme Court rules

that the Plaintiffs cases are not Prescribed, the Plaintiffs would elect to proceed in

Louisiana because the Prescription issue would have been conclusively deter-

mined. But if this Court and the Louisiana Supreme Court determine that

the cases are in fact Prescribed, then Plaintifis can continue to pursue the
merits of their claims in Delaware.

(id. (emphasis added).)

Plaintiffs’ hypothesis that they will be able to pursue the Delaware Federal Actions after
a determination in Louisiana on Dole’s motion for summary judgment that their claims are time-
barred is incorrect. On the same facts presented here, the Fifth Circuit held that res judicata will
bar Plaintiffs’ attempt to get a second bite at the apple in Delaware. Steve D. Thompson Truck-
ing Inc., v. Dorsey Trailers, Inc., 870 F.2d 1045, 1046 (Sth Cir. 1989) (finding that a “dismissal
with prejudice of [the plaintiff's] diversity action by the Louisiana federal district court has res

judicata effect on [the plaintiff's] duplicative diversity action in Mississippi federal district
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court”). This Court, however, need not reach the res judicata issue as Plaintiffs’ duplicative ac-

tion is subject to dismissal now under the first-filed rule.

I. THE DELAWARE FEDERAL ACTIONS SHOULD BE DISMISSED
PURSUANT TO THE FIRST-FILED RULE

“The first-to-file rule gives courts the power to dismiss subsequent claims involving the

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same parties and the same issues already before another court,” “reduces the possibility of dis-
positive differences between the jurisdictions and ensures that litigants receive a single determi-
nation of their controversy, rather than multiple decisions which may conflict and require sepa-
rate appeals,” and “helps to avoid the waste involved in duplicative suits, and the delay in
providing prompt administrative justice.” Time-Warner Cable Inc. vy. GPNE Corp., 497 F. Supp.
2d 584, 588, 590 (D. Del. 2007) (granting dismissal because the “two cases both involve the
same facts and the same patent, trying the matter in two different courts would defeat the reason-
ing behind the first-to-file rule”). Indeed, it is well-recognized that “[a]s part of its general pow-
er to administer its docket, a district court may . . . dismiss a suit that is duplicative of another
federal court suit.” Curtis v. Citibank, N.A., 226 F.3d 133, 138 (2d Cir. 2000); Unitronics, Inc. v.
Robotic Parking Sys. Inc., No. 09-3493, 2010 WL 2545169, at *3 (D.N.J. June 18, 2010) (“[A]
federal court has the inherent power to dismiss a duplicative suit.”). “The power to dismiss a
duplicative lawsuit is meant to foster judicial economy,” the “comprehensive disposition of liti-

gation,” and to protect parties from “the vexation of concurrent litigation over the same subject

matter.” Curtis, 226 F.3d at 138.’

 

; The Fifth Circuit has also held that, “it seems clearly better for parties to rely on
the discretion of the court in the second-filed action to prevent duplicative litigation, ra-
ther than require them to seek an injunction in another court to prevent such duplicative
litigation.” W. Gulf Mar. Ass’n v. ILA Deep Sea Local 24,751 F.2d 721, 732 (Sth Cir.
1985).

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Here, the Delaware Federal Actions are identical to the Louisiana Federal Actions mak-
ing the application of the first-filed rule to dismiss the Delaware Federal Actions inescapable:
both are pending in two different federal courts with concurrent jurisdiction, both involve the
same plaintiffs and defendants, and both allege identical claims and the same harm. See, e.g.,
Funkhouser, 2005 WL 2545300 at *2 (dismissing second action after finding that no “circum-
stances exist in this matter which would justify a departure from the first-filed rule” where both
actions were filed by the same plaintiff, “both assert the ‘same rights’ through the same six con-
tractually based theories of recovery, both assert the ‘same facts’ and claim the same harm, and
both demand the same ‘relief? from [the defendant]”). Moreover, as set forth above, the first-
filed Louisiana Federal Actions have “proceeded much further” than the just-filed Delaware
Federal Actions up to the point where a dispositive motion is pending. Pai v. Reynolds Foil,
Inc., No. 10-1465, 2010 WL 1816256, at *5 (D.N.J. May 5, 2010); see Vinik Marine, Inc. v.
fronhead Marine, Inc., No. 10-1918, 2012 WL 1067737, at *6 (D.N.J. Mar. 29, 2012) (dismiss-
ing action where there are “pending dispositive motions [in the first filed action] and the case has
progressed further than the [second] action”); Crown Cork & Seal Co. v. United Steelworkers of
Am., No. 03-1381, 2004 WL 117923, at *3 (W.D. Pa. Jan. 9, 2004) (granting motion to dismiss
when first-filed action was “substantially further along”). Under the circumstances presented
here, allowing the Delaware Federal Actions to continue is an unjustified waste of judicial time
and resources.

Nor are there any “exceptional circumstances” which would warrant a departure from the
first-filed rule. £.£,0.C., 850 F.2d at 972. Courts have limited such rare departures where the

equities weigh heavily against the first-filed rule’s application such as where evidence exists of

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“1) bad faith [in filing the first action],* or 2) forum shopping [by the party seeking application of
the first-filed rule],” or where 3) the second-filed action is further developed than the first, or 4)
the first-filing party commenced suit in anticipation of the second party’s imminent filing in a
less favorable forum.” Sonion Nederland BV vy. Asius Techs. LLC, No. 11-67(RBK/KMW), 2011
WL 5826047, at *3 (D. Del. Nov. 18, 2011); F.#.0.C., 850 F.2d at 976. None of these circum-
stances exist here. To the contrary, Dole, which seeks the application of the first-filed rule, 1s the
victim of Plaintiffs’ bad-faith forum shopping.

The first and second-filed identical actions were both filed by Plaintiffs. There is thus no
distinction in motives between the party filing the first action and the party filing the second ac-
tion. There is, however, blatant forum shopping. Plaintiffs admit that they are currently subject
to having judgment entered against them in Louisiana, and thus filed this action in Delaware to
hedge their bets. Specifically, Plaintiffs informed the Louisiana District Court that they would
“elect to proceed in Louisiana,” only if they succeeded in defeating Dole’s pending motion for
summary judgment. (Price Cert. Exh. A.) Otherwise, Plaintiffs contend they will “continue to
pursue the merits of their claims in Delaware.” (/d.}

Plaintiffs’ conduct is quintessential, improper forum shopping: “the selection of a court
with an eye towards gaining an advantage based on the forum’s favorable substantive law or the
avoidance of unfavorable law in an alternative forum.” Zokaifes v. Land-Cellular Corp., 424 F.
Supp. 2d 824, 839 (W.D. Pa. 2006). As observed by Justice Becker’s concurring opinion in

Deleski v. Raymark Industries, Inc., while a plaintiffs “freedom to choose a forum is, in part, a

 

. E.E.O.C., 850 F.2d at 976-77 (citing Berkshire Int'l Corp. v. Marquez, 69 F.R.D.
583, 588 (E.D. Pa. 1976) (finding no evidence that the first-filed action “was not brought
in good faith’)).

; ELE.O.C., 850 F.2d at 977 (citing Rayco Mfg. Co. v. Chicopee Mfg. Corp., 148 F.
Supp. 588, 593 (S.D.N.Y. 1957) (declining to apply the first-filed rule because of the
“readily apparent ‘forum shopping,’ by the jumbled plaintiffs and defendants’’)).

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freedom to decide which state’s law will govern her case,” a plaintiff that has made that “choice
at the outset of the case... may [not] still make it—for a second time—afier the complaint is
filed.” 819 F.2d 377, 384 (3d Cir. 1987) (concurring with the majority holding that it was not in
interest of justice to transfer the case because of the plaintiff's “tardy discovery that her com-
plaint is time-barred”). Thus, when the plaintiff in Deleski sought to avoid the first forum’s stat-
ute of limitations by filing a duphcative action in a second federal forum, Justice Becker rejected
this gambit for the additional reason that allowing the second suit to continue “would entitle her
not only to this change of forum, but perhaps to a second, third, or ninth change”—‘‘the prospect
of a defendant being dragged to several different fora while a plaintiff searches for the most hos-
pitable law is singularly unattractive.” /d.

Courts have thus consistently rejected this type of forum shopping whether the filings are
simultaneous or successive finding, “it would be inappropriate to allow the plaintiff to file iden-
tical actions in different courts and then pick the court in which it wishes to proceed.” Pfizer Inc.
v. Apotex, Inc., No. 08-cv-00948, 2009 WL 2843288, at *3 (D. Del. Aug. 13, 2009); also Rick v.
Wyeth, Inc., 662 F.3d 1067, 1072 (8th Cir. 2011) (holding that successive actions are “a para-
digmatic example of egregious forum shopping” where plaintiff filed a Minnesota action after a
New York action was dismissed with prejudice on statute of limitations grounds); McDermott,
487 F. Supp. at 486 (dismissing action because the plaintiff “appears to be shopping for a favor-
able forum” where the plaintiff “having the choice of forum, decided to try the case in state
court,” but “[w hen the court thus selected by the plaintiff indicated that the plaintiff was about
to lose, the plaintiff took a non-suit” and refiled in federal court). Having made transparent their

desire to avoid potentially unfavorable law in the first-filed forum of their choosing by filing the

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Delaware Federal Actions, Plaintiffs have likewise made transparent that the equities weigh
against them and their action should be dismissed.
IV. CONCLUSION
Plaintiffs chose to file suit in Louisiana over a year ago and, at this juncture, cannot pur-
sue the same claims in this Court because they believe they might obtain a more favorable result.
The first-filed rule was created to avoid the situation now before this Court: “to prevent a multi-
plicity of actions and to achieve resolution in a single lawsuit of all disputes from common mat-

ters.” Time Warner Cable, 497 F. Supp. 2d at 589, Accordingly, this Court should dismiss the

Delaware Federal Actions in favor of the first-filed and pending Louisiana Federal Actions.

Respectfully submitted,

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~ EA)

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Date: June 21, 2012

[1064322 / 39209]

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CERTIFICATE OF SERVICE
Thereby certify that on June 21, 2012 a copy of the Memorandum Of Points And

Authorities In Support Of Dole Food Company, Inc., Dole Fresh Fruit Company, Standard Fruit
Company, And Standard Fruit And Steamship Company’s Motion To Dismiss Under The First-
Filed Rule was served by electronic filing via CM/ECF upon the following counsel of record:

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